 Case 3:24-cv-01077-RSH-MMP           Document 129     Filed 12/26/24   PageID.2402   Page 1
                                             of 3



 1   AYNUR BAGHIRZADE
     1968 S. Coast Highway #2429
 2   Laguna Beach, CA 92651
     Phone: 619-776-4882
 3   Email: contact@aynurlawyers.com
 4   AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                        UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                                MOTION FOR THE LEAVE OF
11                               Plaintiff,     COURT TO CONSIDER
                                                PLAINTIFF’S OPPOSITION TO
12           v.                                 DEFENDANTS YELP INC. AND
                                                JEREMY STOPPELMAN’S
     ARMENIAN NATIONAL                          MOTION TO DISMISS FILED BY
13
     COMMITTEE OF AMERICA, et al.,              COURT ON DECEMBER 24, 2024
14                                              TO BE FILED ON DECEMBER 23,
                                                2024
15
16
17
                                                Presiding Judge: Hon. Robert Huie
18
                                                Magistrate Judge : Hon. Michelle M.
19                                              Petit
20
21
22
23
24
25
26
27
28

                                               !1
     Motion for the Leave of Court                  Case No.: 3:24-CV-01077-RSH-MMP
 Case 3:24-cv-01077-RSH-MMP          Document 129       Filed 12/26/24   PageID.2403     Page 2
                                            of 3



 1
 2          This Motion is made pursuant to Local Rules 7.1. and 7.2.
 3
 4          1. Plaintiff tried to file her Opposition to Defendants’ Yelp Inc. and Jeremy
 5   Stoppelman’s Motion to Dismiss for Failure to State a Claim on December 23,
 6   2024 - on the time of the deadline for the Plaintiff to respond to this Motion.
 7          2. Plaintiff accessed her Pacer account on December 23, 2024, but couldn’t
 8   upload the documents, all her attempts gave an error message.
 9          3. Plaintiff tried to use other documents she uploaded successfully to the

10   Pacer system before but received the same error message.

11          4. Plaintiff sent an email to the Court’s Help Desk for ECF filing asking
     them to upload the documents to the system as she has problems with her Pacer
12
     account. Plaintiff also sent all her filings to Opposing Counsels, including
13
     Counsels for Defendants Yelp Inc. and Jeremy Stoppelman on December 23, 2024.
14
            5. Plaintiff couldn’t also file on the following date - December 24, 2024. All
15
     documents Plaintiff tried to upload to the system were in compliance with ECF
16
     Rules and were not above 35 mb., so clearly Plaintiff’s account was restricted.
17
            6. It is not a first time Plaintiff experiences the problem with her Pacer
18
     account on the critical dates - like deadlines, the same happened on previous
19   deadline for Yelp’s Opposition, when despite the court order granting her request to
20   use Pacer account for filings she was contacted by Court’s staff and asked for
21   registration as an Attorney - because allegedly the Court has the order requiring all
22   Attorneys to register in order to use Pacer system - further investigation by
23   Plaintiff revealed the fact that there was no such order.
24          6. Plaintiff’s requests to this Court to investigate continuous interferences
25   with her Pacer account were denied by this Court.
26          7. Plaintiff was also promised by the Court staff that her Opposition will be
27   accepted as filed on December 23, 2024 and her files were stamped with this date,

28

                                                !2
     Motion for the Leave of Court                   Case No.: 3:24-CV-01077-RSH-MMP
 Case 3:24-cv-01077-RSH-MMP          Document 129       Filed 12/26/24   PageID.2404     Page 3
                                            of 3



 1   however in ECF filing system now the Opposition appeared as filed on December
 2   24, 2024, which is one day after the deadline for her filing.
 3          8. Plaintiff therefore respectfully asks this Court to consider the filing of her
 4   Opposition to Defendants Yelp Inc. and Jeremy Stoppelman’s motion to dismiss for
 5   failure to state a claim filed on December 23, 2024 as she was not at fault.
 6
 7
 8
 9
10
11   DATED: December 26, 2024

12
                                             Respectfully submitted,
13
14
15
                                             By: /s/ Aynur Baghirzade
16
                                             Aynur Baghirzade, Plaintiff
17
                                             Email: contact@aynurlawyers.com
18
19
20
21
22
23
24
25
26
27
28

                                                !3
     Motion for the Leave of Court                   Case No.: 3:24-CV-01077-RSH-MMP
